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                      IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

UNITED STATES OF AMERICA,              )      CRIMINAL NO.: 2:19-cr-00441-RMG-1, 2
                                       )
             Plaintiff,                )
                                       )
             vs.                       )
                                       )
AMIR GOLESTAN,                         )
MICFO, LLC,                            )
                                       )
             Defendants.               )



                           DECLARATION OF PUBLICATION

        In accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6)(C) of the Federal

 Rules of Criminal Procedure, notice of the forfeiture was posted on an official

 government internet site (www.forfeiture.gov) for at least 30 consecutive days, beginning

 on June 17, 2022 and ending on July 16, 2022. (See Attachment 1).

       I declare under penalty of perjury that the foregoing is true and correct. Executed

on July 18, 2022, at Greenville, SC.


                                           s/ Carrie Fisher Sherard
                                           Carrie Fisher Sherard
                                           Assistant U.S. Attorney




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